                                                                                                       Reset Form            Print Form
                Case 1:16-cr-00228-LO Document 48 Filed 01/10/18 Page 1 of 1 PageID# 173
                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                       CRIMINAL RULE 57.4
                                  16-cr-00228
                  In Case Number _______________,                    USA v. Bondars et al - Yury Martyshev
                                                      Case Name ______________________________
                                                  Yury Martyshev (Jurijs Martisevs)
                  Party Represented by Applicant: ___________________________________________

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

                                     Alexey Tarasov
FULL NAME (no initials, please) ____________________________________________________________________________
                             24075140
Bar Identification Number ________________              Texas
                                                  State ________________
Firm Name Law    Office of Alexey Tarasov
            ______________________________________________________________________________________________
                832-623-6250
Firm Phone # ________________________                        405-410-5631
                                               Direct Dial # __________________________        832-495-4168
                                                                                        FAX # ________________________
E-Mail Address alexey@tarasovlaw.com
                 __________________________________________________________________________________________
Office Mailing Address ____________________________________________________________________________________
                           5211 Reading Road, Rosenberg, Texas 77471

                                                          See attachment
Name(s) of federal court(s) in which I have been admitted _________________________________________________________

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am ____ am not ____ a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                               /s/ Alexey Tarasov
                                                                               _______________________________________
                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                   __________________________________________                  _____________
                                                   (Signature)                                                 (Date)
                                                   __________________________________________                  _____________
                                                           (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid ________ or Exemption Granted ________

The motion for admission is GRANTED ________ or DENIED ________



                         ________________________________________                            __________________________
                         (Judge’s Signature)                                                 (Date)
